       Case 1:19-cv-01301-WMR Document 92-3 Filed 12/30/20 Page 1 of 3




                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


BELCALIS MARLENIS ALMÁNZAR,

                            Plaintiff,
        v.                                          Case No. 1:19-cv-01301-WMR

LATASHA TRANSRINA KEBE a/k/a
LATASHA TRANSRINA HOWARD and
KEBE STUDIOS LLC,

                            Defendants.


        [PROPOSED] ORDER GRANTING PLAINTIFF’S MOTION
       FOR SUMMARY JUDGMENT AGAINST DEFENDANT KEBE

       Having considered the Motion for Summary Judgment (the “Motion”) filed

by Plaintiff Belcalis Marlenis Almánzar (“Plaintiff”) against Defendant Latasha

Transrina Kebe (“Kebe”), and for good cause shown, THE COURT ORDERS AS

FOLLOWS:

       1.     The Motion is GRANTED as follows:

              (a)    Plaintiff is entitled to partial summary judgment on her claims

for defamation per se (Counts I and III) and this Court finds as a matter of law that

Kebe is liable and that Plaintiff is entitled to injunctive relief.
       Case 1:19-cv-01301-WMR Document 92-3 Filed 12/30/20 Page 2 of 3




             (b)    Plaintiff is entitled to partial summary judgment on her claim

for intentional infliction of emotional distress (Count V) and this Court finds as a

matter of law that Kebe’s conduct was (a) intentional or reckless and (b) extreme

and outrageous.

             (c)    Plaintiff is entitled to summary judgment on each of Kebe’s

remaining counterclaims.

      2.     This Court hereby permanently enjoins Defendant Kebe and her

partners, agents, representatives, successors, assigns and employees, and any and

all persons in active concert or participation with Defendant Kebe, and each of her

executors, administrators, successors, licensees, assigns, subsidiaries, parents,

affiliates, divisions, co-venturers, partners, officers, directors, employees, agents,

shareholders, managers, representatives, consultants, and any and all other persons,

corporations, or other entities acting under the supervision, direction, control, or on

behalf of any of the foregoing, and each of them, from: making, disseminating,

broadcasting, or publishing any statements that Plaintiff has or had herpes or HPV;

that Plaintiff uses or has used cocaine; that Plaintiff engaged in a debasing act with

a beer bottle; that Plaintiff committed infidelity; and/or that Plaintiff was or is a

prostitute (the “Defamatory Statements”).
      Case 1:19-cv-01301-WMR Document 92-3 Filed 12/30/20 Page 3 of 3




      3.    This Court further orders Defendant Kebe to remove all of the

Defamatory Statements from her online accounts.



Dated: __________________, 2020




                                     Honorable William M. Ray II
                                     UNITED STATES DISTRICT JUDGE
